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                                       UNITED    STATES      DISTRICT    COURT
                                            DISTRICT   OF MASSACHUSETTS


JOHN DOE,
         Plaintiff,

                 V .

                                                                C.A.   No.   18-12462-MLW
HARVARD UNIVERSITY,
         Defendants.




                                                       ORDER


WOLF,     D.J.                                                                           November 29,    2018


      This       case        was    filed    on November      28,     2018   and    assigned    to me   today.

Plaintiff        seeks        relief    against    Harvard       University,        including    a   temporary

restraining order.                  I am a Senior Fellow of the Harvard Kennedy School Carr

Center for Human Rights and have an offer to resume teaching as an Adjunct

Lecturer at the Kennedy School.                    There does not appear to be time to consult

the parties to determine whether they believe my recusal is required by 28

U.S.C.    § 455(a)           and,    if so,    whether they wish to waive any such ground for

my recusal under §455(e).

      In view of the foregoing,                   and the facts that this case has just begun

and      there         are    other    available       judges    as    to    whom   no   similar     questions

concerning possible recusal exist,                       I   recuse myself pursuant to 28               U.S.C.

§455(a). This case is returned to the Clerk to be randomly reassigned.




                                                                         UNITED STATES      DISTRICTJ      )GE
